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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA         :
                                 :
          v.                     :     1:21-cr-00177-CRC
                                 :
                                 :
DANIEL D. EGTVEDT,               :
                                 :
     Defendant.                  :

   GOVERNMENT’S RENEWED MOTION TO REVOKE DEFENDANT’S PRETRIAL
    RELEASE OR IN THE ALTERNATIVE FOR AN EARLY STATUS HEARING

     The United States of America, by and through the Acting

United States Attorney for the District of Columbia, hereby

renews its motion (doc. 27) to revoke the defendant’s release or

in the alternative for an early status hearing, prior to the

scheduled date of June 3, 2021.

     Following the defendant’s response (doc. 28) to the

government’s original motion the Court issued a minute order

requiring the Pretrial Services Agency to inform the Court, by

10 a.m. on May 7, 2021 (i.e., today), whether new location-

monitoring equipment, expected to be installed on May 6, 2021,

“was successfully installed and whether it is functioning.”

Earlier today, the government received an email (pdf copy

attached) from the U.S. Probation and Pretrial Services,

District of Maryland (which is conducting courtesy supervision

of the defendant), indicating that the new equipment does not

function adequately.
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Accordingly, the government is renewing its motion.

                Respectfully submitted

                CHANNING D. PHILLIPS
                ACTING UNITED STATES ATTORNEY
                Colleen Kukowski
                Assistant United States Attorney

          by:   /s/ Michael C. Liebman
                Michael C. Liebman
                Assistant United States Attorney
                D.C. Bar No. 479562
                555 4th Street, N.W., room 9106
                Washington, D.C. 20001
                (202) 252-7243
                (202) 353-5415 (fax)
                michael.liebman@usdoj.gov




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